              Case 2:15-cr-00244-RAJ Document 368 Filed 10/02/20 Page 1 of 1




1                                                              The Honorable Richard A. Jones
2
3
4
5                           UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
6
                                        AT SEATTLE
7
      UNITED STATES OF AMERICA,                             NO. 2:15-cr-244-RAJ
8
                                Plaintiff
9                                                           ORDER ON PARTIES’ STIPULATED
                           v.                               MOTION REGARDING BRIEFING
10
                                                            SCHEDULE FOR DEFENDANT’S
11                                                          MOTION FOR COMPASSIONATE
      ROBERT RYAN POWELL,                                   RELEASE PURSUANT TO
12
                                                            18 U.S.C. § 3582(c)(1)(A)
13                              Defendant.

14
            Having considered the parties' Stipulated Motion Regarding Briefing Schedule for
15
     Defendant’s Motion for Compassionate Release, it is hereby ORDERED the Stipulated
16
     Motion (Dkt. #367) is GRANTED and the Court sets the following briefing schedule:
17
            a. The United States shall file its response to the motion on or before October 9,
18
                2020;
19
            b. The defense shall have until on or before October 15, 2020 to file any reply; and
20
            c. The motion is renoted for October 16, 2020.
21
22
                DATED this 2nd day of October, 2020.
23
24
25
                                                        A
                                                        The Honorable Richard A. Jones
26                                                      United States District Judge
27
28
     ORDER                                                           UNITED STATES ATTORNEY
                                                                    700 STEWART STREET, SUITE 5220
     United States v. Powell, No. 2:15-cr-244-RAJ - 1
                                                                      SEATTLE, WASHINGTON 98101
                                                                            (206) 553-5172
